Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 137 Filed: 03/29/22 Page: 1 of 2 PAGEID #: 3147




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

     MICHAEL GONIDAKIS, et al.,                         :
                                                        :
            Plaintiffs,                                 :   Case No. 2:22-CV-773
                                                        :
                v.                                      :   Chief Judge Algernon Marbley
                                                        :   Circuit Judge Amul Thapar
     FRANK LAROSE,                                      :   Judge Benjamin J. Beaton
                                                        :
           Defendant.                                   :


                SECRETARY OF STATE FRANK LAROSE’S SUPPLEMENTAL
                           DISCLOSURE OF WITNESSES


           By and through counsel, the Ohio Secretary of State Frank LaRose hereby provides a

    supplemental list of people that he reserves the right to call as witnesses at the preliminary

    injunction hearing:

           1.        Amanda Grandjean
                     Deputy Assistant Secretary of State and State Elections Director
                     Office of Ohio Secretary of State Frank LaRose
                     22 N 4th St
                     Columbus, OH 43215

           Ms. Grandjean may testify about the elections administration process in Ohio, the

    actions required of Ohio’s Secretary of State and boards of election, to correct misinformation

    or misstatements relating to positions the Secretary has expressed in the various directives or

    contained in Ms. Grandjean’s affidavits and the impacts of remedies or solutions that may be

    proposed or suggested by counsel for Plaintiffs, intervenors or the court.
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 137 Filed: 03/29/22 Page: 2 of 2 PAGEID #: 3148




                                                   Respectfully submitted,

                                                   OHIO ATTORNEY GENERAL

                                                   /s/ Jonathan D. Blanton
                                                   JONATHAN D. BLANTON (0070035)
                                                   Deputy Attorney General
                                                   JULIE M. PFEIFFER (0069762)
                                                   Counsel of Record
                                                   MICHAEL A. WALTON (0092201)
                                                   Assistant Attorneys General
                                                   Constitutional Offices Section
                                                   30 E. Broad Street, 16th Floor
                                                   Columbus, Ohio 43215
                                                   Tel: 614-466-2872 | Fax: 614-728-7592
                                                   Julie.Pfeiffer@OhioAGO.gov
                                                   Jonathan.Blanton@OhioAGO.gov
                                                   Michael.Walton@OhioAGO.gov

                                                   Counsel for Defendant Frank LaRose



                                    CERTIFICATE OF SERVICE

           I hereby certify that on March 29, 2022, the foregoing was filed with the Court. Notice

    of this filing will be sent by operation of the Court’s electronic filing system to all parties for

    whom counsel has entered an appearance. Parties may access this filing through the Court’s

    system.



                                                   /s/ Jonathan D. Blanton
                                                   JONATHAN D. BLANTON (0070035)
                                                   Deputy Attorney General




                                                    2
